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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



ANDREW CORZO, SIA HENRY, ALEXANDER LEO-
GUERRA, MICHAEL MAERLENDER, BRANDON
PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
TATIANA WEAVER, and CAMERON WILLIAMS,
individually and on behalf of all others similarly situated, Case No.: 1:22-cv-00125-MEK

                            Plaintiffs,

                            v.

BROWN UNIVERSITY, CALIFORNIA INSTITUTE
OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
THE TRUSTEES OF COLUMBIA UNIVERSITY IN
THE CITY OF NEW YORK, CORNELL
UNIVERSITY, TRUSTEES OF DARTMOUTH
COLLEGE, DUKE UNIVERSITY, EMORY
UNIVERSITY, GEORGETOWN UNIVERSITY, THE
JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
LAC, THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,

                            Defendants.


   PLAINTIFFS’ MOTION TO MODIFY CASE MANAGEMENT ORDER #1 AND
                     MEMORANDUM IN SUPPORT
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       Plaintiffs respectfully submit this Memorandum of Law in Support of their Motion to

Modify Case Management Order #1. ECF 195 (reflected in Appendix A). Plaintiffs respectfully

ask the Court to extend the schedule by approximately seventy-five (75) days, to the dates set

forth in Appendix B. The dates from Appendix A and Appendix B are compared in Appendix C.

This is Plaintiffs’ first motion to modify Case Management Order #1 (although, as explained

below, the Court previously extended the date for Defendants substantially to complete their

document production, after considering the parties’ joint request for such an extension with

respect to certain Defendants).

                                     LEGAL STANDARDS

       A discovery schedule may be modified before the expiration of the existing deadlines

“for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4); see also Fed. R. Civ. P.

6(b)(1)(A) (“When an act may or must be done within a specified time, the court may, for good

cause, extend the time without or without motion or notice if the court acts, or if a request is

made, before the original time or its extension expires.”). The “primary consideration” with

respect to “good cause” is the diligence of the party seeking the extension. Alioto v. Town of

Lisbon, 651 F.3d 715, 719 (7th Cir. 2011). Such extensions are appropriate, for example, where

“it does not appear that either party was attempting to purposefully delay these proceedings” and

there have been no post-deadline “discovery requests to gain a tactical advantage.” Krukowski v.

Omicron Techs., Inc., 2012 WL 3841491, at *4 (N.D. Ill. Aug. 29, 2012).

                                           ARGUMENT

       Plaintiffs respectfully submit that, under the foregoing standards, the proposed

modification of Case Management Order #1, reflected in Appendix B, is warranted and in the




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best interests of the proposed class, for numerous reasons, primarily arising out of Plaintiffs’

counsel’s diligence in discovery to date:

       First, since the outset of fact discovery, in September 2022, Plaintiffs have diligently and

aggressively pursued discovery in this complex and expansive case. As the Court recognized at

the outset of discovery, this is a case with seventeen defendant universities (“Defendants”), each

with sophisticated counsel, concerning an alleged conspiracy beginning in 2003 and continuing

until 2021, and a proposed class of nearly 200,000 allegedly injured students and former

students. Considering the law the Court may apply (where the issue of whether the “per se” or

“rule of reason” mode of analysis is an intensely factual issue), Plaintiffs have undertaken to

collect evidence on each of the elements of their antitrust claim under both the per se and rule of

reason standards and on Defendants’ claimed immunity. Seeking damages and a class under Fed.

R. Civ. P. 23(b)(3), Plaintiffs are working in conjunction with consulting and testifying experts

to understand the details of the alleged cartel’s financial aid methods and principles, how each

school imposed such methods and principles, in order to hone the computation of impact and

damages within the proposed class. In conjunction with the latter project, Plaintiffs have been

pursuing production of large databases of structured data regarding reflecting each Defendant’s

methods and computations of financial aid and pricing for tens of thousands of students from a

period before the alleged conspiracy began and extending through the present. Even in the

context of large antitrust class actions, this one stands out for the amount of time and effort

required for Plaintiffs to accomplish the tasks necessary to prove their claims.

       Second, the proposed extension will most reasonably permit Plaintiffs’ counsel to

complete their substantial document and data review and numerous relevant depositions, in line

with schedules entered in similar cases in this District. Over the last eight (8) months,




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Defendants have collectively produced approximately 1.13 million documents, totaling more

than 4.8 million pages. In line with a conventional and reasonable approach to fact discovery,

Plaintiffs’ counsel have sought to review some critical mass of these documents before taking

fact depositions, using those depositions to sharpen their further document review, and noticing

and taking subsequent fact depositions on the basis of such analyses. In addition, also in line with

a conventional and reasonable approach to fact discovery, Plaintiffs’ counsel have sought to

complete as much document review, and as many fact depositions, as possible before identifying

relevant topics for purposes of depositions under Fed. R. Civ. P. 30(b)(6). Plaintiffs’ counsel

have thus far taken thirty-three (33) fact depositions, have noticed or scheduled to take

approximately twenty-five (25) more, and anticipate noticing at least twenty (20) more, including

the Rule 30(b)(6) depositions. The result of this approach is that Plaintiffs would ideally finish

their document review over the next two (2) months, while continuing to take numerous fact

depositions, and thereafter take the remaining fact depositions and Rule 30(b)(6) depositions as

appropriate.

       The schedule that Plaintiffs propose will result in a period of fact discovery comparable

to many complex multi-defendant antitrust litigation in this District. In In re Turkey Antitrust

Litigation, Civ. A. No. 1-19-cv-8318 (N.D. Ill.), for example, the court set an original period of

fact discovery of approximately eighteen (18) months. ECF 200. The court subsequently

extended the period of fact discovery by approximately five (5) months, resulting in a fact-

discovery period of approximately two years. ECF 571. In Kleen Products v. Packaging Corp.,

1:10-cv-05711 (N.D. Ill.), the court allowed a fact discovery period of approximately seventeen

(17) months, ECF No. 461, and ultimately extended fact discovery by another five months,

giving the parties approximately twenty-two (22) months. ECF No. 513. In In re: Plasma-




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Derivative Protein Therapies Litigation, 1:09-cv-0766 (N.D. Ill.), the court allowed a fact-

discovery period of approximately eighteen (18) months, ECF No. 330, and ultimately extended

that by another nine (9) months, giving the parties around twenty-seven (27) months of fact

discovery, ECF No. 500. And in Moehrl v. National Association of Realtors, 1:19-cv-01610

(N.D. Ill.), the court authorized fact discovery to last nearly two years (663 days). ECF No. 196.

The schedule that Plaintiffs now propose, in Appendix B, would result in a period of fact

discovery of approximately nineteen (19) months (from September 2022 to April 2024).

          Third, the proposed extension follows naturally, and symmetrically, from Defendants’

mid-discovery requests for extensions of time by which they would substantially complete their

production of data and documents, and the Court’s global resolution of such requests. The

original date for the substantial completion of document production for requests for production

served on September 19, 2022, was March 3, 2023. At Defendants’ request, however, Plaintiffs

consented to extending this date until May 15, 2023—an extension of seventy-three (73) days.

EFC 352.1 In so agreeing, Plaintiffs accepted several Defendants’ explanation that, given the

number of documents at issue, they would be unable to meet the original deadline. The result of

this extension was that Plaintiffs had 73 fewer days in which to conduct document review and

deposition identification.2 This prior, 73-day extension thus corresponds to the 75-day extension

of the schedule that Plaintiffs now seek. Plaintiffs did not seek any such extension earlier this

year (either from the Defendants or the Court), because they were seeking to complete fact




1
 On April 20, 2023, the Court moved the deadline to May 15, 2023, for all Defendants after learning that
Plaintiffs had agreed to extensions between April 30, 2023, and May 15, 2023, for certain Defendants and
were seeking some “deadline.” 4/20/23 Tr. at 8:12-10:7.
2
    Defendants similarly sought, and obtained, a three-week extension to produce structured data. ECF 315.


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discovery within the original deadline. As explained herein, however, Plaintiffs’ counsel have

now concluded that it would benefit the proposed class to move back the original deadline.

        Fourth, the proposed extension sensibly accounts for the noticing and scheduling of

depositions to date in this matter. After an initial period of document review, as explained above,

Plaintiffs’ counsel began noticing fact depositions during the late spring, the summer, and the

early fall. In doing so, Plaintiffs’ counsel understood—including based on repeated explanations

from Defendants’ counsel—that the proposed deponents were almost never available for

deposition in the near term (that is, within a period of a few weeks). (See, e.g., Normand Decl.

Ex. A (summarizing the lengths of time between the date when deposition notices were sent,

when the Defendant offered deposition dates in response, and the date for which the deposition

was scheduled).) On average, witnesses have been produced over 90 days after being noticed—

and this is rarely due to an adjournment request from Plaintiffs. See id.3 Plaintiffs’ counsel

accepted that this was either because (a) Defendants’ employees, given academic schedules,

were not immediately available during the summer and because the fall is a particularly busy

time for colleges and universities such as Defendants, and/or (b) Defendants wanted to spend a

significant amount of time in preparing the witness for deposition. Whatever the explanation,

Plaintiffs’ counsel have been accommodating in agreeing to depositions dates that have been,

with very few exceptions, many weeks and even months after the dates the deposition notices

were sent. Plaintiffs submit that their proposed extension request accounts for such

accommodating scheduling.4


3
 Plaintiffs’ exhibit regarding the scheduling of depositions does not reflect the many instances where
Plaintiffs have had to repeatedly reach out to obtain dates for noticed depositions.
4
  In the October 2023 Joint Status Report, Defendants asserted that Plaintiffs have “inexplicably delay[ed]
in beginning to notice depositions” and have requested “repeated postponements of depositions.” ECF
450 at 8-9. Contrary to this narrative, and in summarizing the timing logistics for each deponent noticed


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        Sixth, the proposed extension will reasonably permit Plaintiffs’ counsel to continue to

obtain the structured data they have repeatedly sought from Defendants, which efforts have

included numerous requests for clarifications related to such data, including definitions of

variable and field names, and explanations for apparently missing data (which Defendants have

since explained is due to its unavailability). The production and clarification process has been

pursued informally through emails and meet-and-confers, and it is continuing. In Plaintiffs’

counsel’s experience, even where (such as here) the defendants cooperate in such efforts, this

process is inherently time-consuming in major data-intensive antitrust cases.6

        Finally, to the extent the Court deems this factor relevant, Plaintiffs submit that the

proposed extension will not prejudice Defendants. In fact, it seems likely to ease the burden on

them. Plaintiffs could conceivably identify and notice all of the remaining fact deponents and

Rule 30(b)(6) topics for completion of depositions by January 31, 2024. (Plaintiffs’ counsel, for

the many reasons explained above, reasonably seek to avoid such a schedule.) In that event,

however, Defendants would need to make their fact deponents available, and to prepare a Rule

30(b)(6) witnesses or witnesses, on a much more compressed time schedule than they have made

witnesses available for depositions to date—and would have to do so through the typical

vacation times of the second half of December and beginning of January. Plaintiffs’ counsel


6
 Plaintiffs learned through depositions this summer, for example, that Defendants had maintained their
formulae for setting financial aid awards in their database software. Although most Defendants have
produced these software “settings,” Plaintiffs remain engaged in process of obtaining clarifications about
various definitions in these settings. Some Defendants have provided, or committed to provide, these
clarifications informally. Some Defendants have insisted that these clarifications be obtained formally,
which Plaintiffs plan to do through Rule 30(b)(6) depositions.


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propose instead to take the same number of depositions but to use a longer period of time in

which to do so, and thereby increase scheduling flexibility.

                                        CONCLUSION

       Plaintiffs respectfully request, for the foregoing reasons, that the Court modify Case

Management Order #1, ECF 195, to the dates set forth in Appendix B.


 Dated: November 15, 2023                           Respectfully Submitted,

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Daubert and/or Class Certification Hearing                  Court’s discretion


Summary Judgment Motions                                     March 7, 2025


Summary Judgment Oppositions                                 April 11, 2025


Summary Judgment Replies
                                                             May 12, 2025


Summary Judgment Hearing                                    Court’s discretion


Pre-Trial Conference                                        Court’s discretion


Trial                                                       Court’s discretion




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Daubert and/or Class Certification Hearing                  Court’s discretion


Summary Judgment Motions                                      June 5, 2025


Summary Judgment Oppositions                                  July 10, 2025


Summary Judgment Replies
                                                            August 11, 2025


Summary Judgment Hearing                                    Court’s discretion


Pre-Trial Conference                                        Court’s discretion


Trial                                                       Court’s discretion




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Reply in Support of Class
                                       January 8, 2025            April 5, 2025
Certification


Daubert and/or Class Certification
                                      Court’s discretion        Court’s discretion
Hearing


Summary Judgment Motions                March 7, 2025             June 5, 2025


Summary Judgment Oppositions            April 11, 2025            July 10, 2025


Summary Judgment Replies
                                        May 12, 2025             August 11, 2025


Summary Judgment Hearing              Court’s discretion        Court’s discretion


Pre-Trial Conference                  Court’s discretion        Court’s discretion


Trial                                 Court’s discretion        Court’s discretion




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